Case 4:07-cr-40032-DRH    Document 57     Filed 07/03/07   Page 1 of 1   Page ID #86




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

TRACY A. McCANN,

      Defendant.                                    Case No. 07-cr-40032-1-DRH

                                     ORDER

HERNDON, District Judge:

            Before the Court is defendant Tracy McCann’s Motion to Continue

Sentencing Hearing (Doc. 56), which is currently set for July 5, 2007. A continuance

of at least thirty days is sought because Defendant’s counsel wishes further time to

discuss certain sentencing issues with the Government. For good cause shown,

Defendant’s Motion (Doc. 56) is GRANTED. The sentencing hearing for defendant

McCann is hereby reset for August 10, 2007 at 9:30 a.m.

            IT IS SO ORDERED.

            Signed this 3rd day of July, 2007.

                                                     /s/      David RHerndon
                                                     United States District Judge
